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AO 245B (Rev. 09/19)      Judgment in a Criminal Case
                          Sheet 6- Schedule of Payments
                                                                                                            Judgment- Page _6�_ of       6
 DEFENDANT: JENESSA TOLEJKO
 CASE NUMBER: 21-cr-128

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay,payment of the total criminal monetary penalties is due as follows:

A      lt'.i     Lump sum payment of$ --'-=�----
                                        100.00   due immediately,balance due

                 D    not later than                             ,or
                 D    in accordance with D C,         D D,     D E,or         D F below; or

B     D Payment to begin immediately (may be combined with                 DC,         DD,or      D F below); or

C     D Payment in equal               _____ (e.g., weekly, monthly, quarterly) installments of $ ___ over a period of
                               (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal              _____ (e.g., weekly, monthly, quarterly) installments of $ ___ over a period of
                              (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

E     D Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise,ifthis judgment imposes imprisonment,payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties,except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program,are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                  Joint and Several             Corresponding Payee,
      (including defendant number)                          Total Amount                     Amount                       if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Paygients shall be applied in the following order: (1) assessment,(2) restitution princ!J?al,(3) restitution interest,(4) AVAA assessment,
(5) fine principal,(6) fine interest,(7) community restitution,(8) NTA assessment,(9) penalties,and (10) costs,mcluding cost of
prosecut10n and court costs.
